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       254.    In 1984, the Corps concluded that the wave climate was more severe than the

design parameters anticipated for the foreshore dike in the Citrus Bank Levee and that the

frequently experienced higher water levels meant that waves could overtop the height of the

dike. Exh. 1478, Memo to Chatry from Chief Joe Dicharry, Navigation Section, Project

Management Branch; Subject: Foreshore Protection Along Citrus Back Levee (July 27, 1984)

(AIN-108-000000889).

       255.    The Corps recognized that overtopping of LPV structures along Reach 2, caused

by waves from passing ships, could scour the bank behind the LPV structures and cause failure

from behind. Exh. 1943, Foreshore Protection Test Sections MR-GO South Bank Sta 475 to 501

(Jan. 28, 1983) (NED-192-000000432).

                                             NEPA

Army Corps’s Knowledge of MR-GO’s Adverse Effects at the Time of Preparing
Environmental Disclosure Documents

       256.    Pursuant to NEPA, the U.S. Army Engineer District, New Orleans, Louisiana

completed in 1974 a “Review Draft” entitled “Composite Draft Statement for Operation and

Maintenance Work on Three Navigation Channels in the Lake Borgne Vicinity Louisiana”

(“1974 DEIS”). The document describes the “Administrative” action under review as the:

           operation and maintenance of the following projects in the vicinity of
           Lake Borgne Louisiana: The Mississippi River Gulf Outlet….Operation
           and Maintenance …consist(ing) primarily of periodic dredging and
           subsequent material Depo. along the total of 111.3 miles. Maintenance
           dredging is accomplished by a cutter head pipeline dredge.

Exh. 191 at p. i, ¶2 (1974 DEIS).

       257. The 1974 DEIS removed references to studies regarding the MR-GO’s effect on

storm surge that had been part of the 1972 DEIS. Exh. 190 at pp. 13, 14 (1972 DEIS); Exh. 191

(1974 DEIS); see also Exh. 184, John Saia 30(b)(6) Depo. (Sept. 30, 2008) at 82:23-83:19;



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131:11-132:3-142:25, 181:8-184:14; Exh. 195, John Saia 30(b)(6) Depo. (Oct. 1, 2008) at 32:9-

35:9; 60:1-71:12; 79:11-81:22; 82:18-85:17; 90:15-93:20; 96:8-97:3; 98:23-99:7; 118:6-119:17.

       258. By 1975, the Army Corps had acknowledged “[t]he marsh west of the MR-GO has

been significantly modified by, inter alia, the MR-GO channel.” Exh. 186, Mississippi River

Gulf Outlet New Lock and Connecting Channels Quantities to Use for Real Estate for

Comparative Analysis of 14 Schemes, at AFW-180-000001008, ¶8.

       259. The Corps’ response to the EPA Comment Letter, as included in Section 9 of the

“Coordination Comment and Response” portion of the 1976 FEIS, merely dismissed the EPA’s

concerns noting that the environmental impacts raised by the EPA were not relevant to O&M

and as such need not be addressed in this impact statement and, discussion of mitigative

measures were similarly deemed “inappropriate” for this statement. Exh. 192, 1976 FEIS at IX-

3, 13; see also Exh. 184, John Saia 30(b)(6) Depo. (Sept. 30, 2008) at 82:23-83:19, 131:11-

132:3-142:25, 181:8-184:14; Exh. 195, John Saia 30(b)(6) Depo. (Oct. 1, 2008) at 32:9-35:9,

60:1-71:12, 79:11-81:22, 82:18-85:17, 90:15-93:20, 96:8-97:3, 98:23-99:7, 118:6-119:17; Exh.

177, December 1972 Digest of Water Resources Policies and Activities, EP 1165-2-1, at p. A-

135.

       260. The Department of the Interior (“DOI”) likewise brought to the Corps’ attention

certain perceived deficiencies in the DEIS. The DOI sharply disputed the Corps’ unsubstantiated

conclusion that spoil disposal would “constrain the westward erosion of the MR-GO channel

bank” which was contributing to the widening of the surface of the MRGO. Exh. 192, 1976

FEIS at p. IX-20; see also Exh. 184, John Saia 30(b)(6) Depo. (Sept. 30, 2008) at 82:23-83:19,

131:11-132:3-142:25, 181:8-184:14; Exh. 195, John Saia 30(b)(6) Depo. (Oct. 1, 2008) at 32:9-

35:9, 60:1-71:12, 79:11-81:22, 82:18-85:17, 90:15-93:20, 96:8-97:3, 98:23-99:7, 118:6-119:17.




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       261. In its response, the Corps merely rejected out of hand the DOI’s comment without

addressing the merits of its stated concern about bank erosion. Exh. 192, 1976 FEIS at p. IX-7;

see also Exh. 184, John Saia 30(b)(6) Depo. (Sept. 30, 2008) at 82:23-83:19, 131:11-132:3-

142:25, 181:8-184:14; Exh. 195, John Saia 30(b)(6) Depo. (Oct. 1, 2008) at 32:9-35:9, 60:1-

71:12, 79:11-81:22, 82:18-85:17, 90:15-93:20, 96:8-97:3, 98:23-99:7, 118:6-119:17.

       262. The United States Department of Commerce, Assistant Secretary for Science and

Technology, commented that the DEIS failed to identify the land loss process of marsh

deterioration resulting from saltwater intrusion and failed to address specific authoritative studies

on the relevant environmental effects of saltwater intrusion on vegetative types in the vicinity as

well as studies regarding conversion of marsh to open water in violation of 40 CFR Part 1500.8

(a) (1). Exh. 192, 1976 FEIS at p. IX-14.

       263. The Corps’ 1976 FEIS did not act upon this comment in its Section IX

“Coordination Comment and Response” portion of the 1976 FEIS and made no reference to the

impact of saltwater intrusion as a cause of land loss, nor did it include the referenced studies

anywhere in the body of the document. Exh. 192, 1976 FEIS at IX-1-10; see also Exh. 184, John

Saia 30(b)(6) Depo. (Sept. 30, 2008) at 82:23-83:19, 131:11-132:3-142:25, 181:8-184:14; Exh.

195, John Saia 30(b)(6) Depo. (Oct. 1, 2008) at 32:9-35:9, 60:1-71:12, 79:11-81:22, 82:18-85:17,

90:15-93:20, 96:8-97:3, 98:23-99:7, 118:6-119:17.

       264. The State of Louisiana, Department of Public Works letter, commented that the

1974 DEIS did not adequately identify the role of the proposed locks at Seabrook and Rigolets to

hurricane protection in the vicinity in violation of 40 CFR Part 1500.8 (a)(1). Exh. 192, 1976

FEIS at IX-21.




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       265. The Corps failed to acknowledge that The State of Louisiana, Department of Public

Works comment and made no alteration in its discussion of the impact that the proposed

Seabrook and Rigolets Locks were expected to have on hurricane protection and the impact of

salt water intrusion on the marshes, in violation of 40 C.F.R. Part 1500.8(a)(1). Exh. 192, 1976

FEIS at II-116-117(g).

       266. The Louisiana Wildlife and Fisheries Commission (“LWFC”) commented that:

implementation of the proposed O&M would enhance the MRGO’s impact on saltwater intrusion

and significant ecological changes in the marshlands and estuaries. Problems the LWFC

considered to be of “significant magnitude.” Exh. 192, 1976 FEIS at IX-8 to IX-9.

       267. In lieu of responding to the LWFC’s concerns, the Corps merely concluded that it

was “inappropriate” to present or analyze these impacts in this environmental document. Exh.

192, 1976 FEIS at IX-9.

       268. In March 1976, the U.S. Army Engineer District, New Orleans, Louisiana completed

the Final Environmental Impact Statement (“1976 FEIS”) for the MR-GO project pursuant to 40

CFR Part 1500.6 (d)(1). Exh. 192, 1976 FEIS.

       269. The 1976 FEIS fails to satisfy the requirements of NEPA in that it does not contain

of the following:

                a.      a description of the wetlands environment in the MR-GO vicinity
       as it existed prior to the proposed maintenance dredging and operation of the MR-
       GO, in violation of 40 CFR Part 1500.8 (a)(1);

               b.     a description of the interrelationships and cumulative
       environmental impacts of the proposed maintenance dredging and operation of the
       MR-GO as it impacts the storm surge environment in the vicinity and other
       related Federal projects (for example specifically but not exclusively, the locks at
       Seabrook and Rigolets); the wetlands environment in the MR-GO vicinity, and
       channel erosion, as required by 40 CFR Part 1500.8 (a)(1), (a) (3);




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           c.     a description of the probable adverse environmental effects of the
    Operation, Maintenance, and Dredging on the storm hazards in the environment
    which could not be avoided, as required by 40 CFR Part 1500.8 (a)(5).

            d.      the interrelationships of the MR-GO on other related Federal
    projects, in particular, the relationship that the MR-GO has or may have on the
    Lake Pontchartrain Hurricane Protection Project, in violation of 40 CFR Part
    1500.8 (a)(1). Exh. 184, John Saia 30(b)(6) Depo. (Sept. 30, 2008) at 126:19-
    127:16; Exh. 192, 1976 FEIS at I-11-13.

            e.    any detail regarding the probable impact of the proposed
    maintenance dredging and operation of the MR-GO on the wetlands environment
    in the MR-GO vicinity as they affect storm surge and channel erosion, as required
    by 40 CFR Part 1500.8 (a)(3);

            f.     an analysis of the secondary, or indirect, as well as primary or
    direct, consequences of the maintenance dredging and operation of the MR-GO
    on the wetlands environment as it relates to storm surge and channel erosion in
    the MR-GO vicinity, as required by 40 CFR Part 1500.8 (a)(3)(ii);

           g.     an evaluation of the cumulative environmental impacts of the MR-
    GO O&M as required by 40 CFR Part 1500.8 (a) (1); Exh. 184, John Saia
    30(b)(6) Depo. (Sept. 30, 2008) at 126:13-18;

           h.      an analysis of alternatives to the proposed maintenance dredging
    and operation of the MR-GO (and their benefits) relative to environmental
    changes presented to the storm surge environment and impacts on storm hazards,
    wetlands loss, and channel erosion, as required by 40 CFR Part 1500.8(a)(4);

            i.      the required statement indicating the extent to which the stated
    countervailing benefits could be realized by following reasonable alternatives to
    the proposed action that would avoid some or all of the adverse environmental
    effects on the wetlands environment in the MR-GO vicinity, as required by 40
    CFR Part 1500.8 (a)(8).

           j.     an analysis in sufficient detail to reveal the Army Corps’s
    comparative evaluation of the environmental benefits, costs, and risks of the
    Operation, Maintenance, and Dredging and each reasonable alternative as it
    impacted storm hazards, wetlands loss, and channel erosion in the vicinity of the
    MR-GO, as required by 40 CFR Part 1500.8 (a)(4).

           k.      any descriptions of appropriate alternatives to resolve conflicts
    concerning methods of mitigating the effects of maintenance dredging and
    operation of the MR-GO on storm surge, wetlands loss, and channel erosion in the
    MR-GO vicinity, as required by 40 CFR Part 1500.8 (a)(4);

           l.     a rigorous exploration and objective evaluation of the
    environmental impacts of all reasonable alternative mitigating measures that


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       might neutralize or avoid some or all of the adverse environmental effects of the
       existence of and continued maintenance dredging and operation of the MR-GO, as
       required by 40 CFR Part 1500.8 (a)(4);

                m.      an analysis of the operation and maintenance of the MR-GO’s
       potential for reducing the environmental benefits of the wetlands environment in
       its vicinity or the alternative of taking “no action” to operate the MR-GO, or of
       postponing action pending further study of the effects of O&M, as required by 40
       CFR Part 1500.8 (a)(4);

               n.     a required statement on the extent to which the Operation,
       Maintenance including dredging involved tradeoffs between short-term
       environmental gains at the expense of long-term losses, and a discussion of the
       extent to which the Operation, Maintenance, including dredging foreclose future
       options regarding the environment, as required by 40 CFR Part 1500.8 (a)(6); and

               o.      the required section indicating what other interests and
       considerations of Federal policy are thought to offset the adverse environmental
       effects of the proposed action on the wetlands environment in the MR-GO
       vicinity, as required by 40 CFR Part 1500.8 (a)(8).

       270. The Corps concedes that the 1976 FEIS contains no analysis of the impacts of the

MR-GO O&M on the health and safety of the human environment related to erosion of the banks

along the MR-GO. Exh. 181, Gregory Miller 30(b)(6) (Oct. 14, 2008) at 281:6-282:16.

       271. At no time after 1976 did the Corps prepare any additional Final or Supplemental

Environmental Impact Statement concerning the effects of the ongoing O&M activities or that

discussed the impact of those activities on the human environment. Nor did it ever address

mitigation measures, alternatives or risks to human life and property, or any other disclosures

required by NEPA and its implementing regulations. Exh. 188, Appendix L, MR-GO De-

Authorization Study); see also Exh. 184, John Saia 30(b)(6) Depo. (Sept. 30, 2008) at 82:23-

83:19, 131:11-132:3-142:25, 181:8-184:14; Exh. 195, John Saia 30(b)(6) Depo. (Oct. 1, 2008) at

32:9-35:9, 60:1-71:12, 79:11-81:22, 82:18-85:17, 90:15-93:20, 96:8-97:3, 98:23-99:7, 118:6-

119:17.




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       272. Between 1963 and 2005, the Corps engaged in approximately 147 dredging events

and removed approximately 492,422,925 million cubic yards of sediment which became spoil.

Exh. 206, Compilation of Dredging Events Notice of Intent to Introduce Summary Evidence;

Exhibit A-F (September 12, 2008) at p. 5.

       273. The Corps never presented Congress with an objective analysis of the impacts of

these dredging activities, including the Corps’ own understanding that its conduct was causing

the surface width of the MR-GO to expand at a rate averaging over 15 feet per year causing the

channel to triple in width. Exh. 203, The Mississippi River Gulf Outlet: A Study of Bank

Stabilization at 1865; Exh. 145, New Orleans District Corps of Engineers for the Environmental

Subcommittee of the Technical Committee Convened by EPA in Response to St. Bernard Parish

Council Resolution 12-98. December 1999. Habitat Impacts of the construction of the MR-GO

(March 16, 2000) at 1559.

       274. The Corps never presented to Congress, the impact that continued dredging had on

the stability and integrity of the adjacent hurricane protection system.

       275. As of October 1, 1977, the effective date of Executive Order No. 11990, the MRGO

was an ongoing project with wetlands implications that would require future Environmental

Impact Statements. One of the objectives of Executive Order No. 11990 was “to avoid to the

extent possible the long and short term adverse impacts associated with the destruction or

modification of wetlands. This expressly included dredging activity. Exh. 172, Executive Order

No. 11990 at pp. 1-2, Sections 1(a) and 7(b).

       276. Executive Order No.11990 required that the Corps “consider factors relevant to a

proposal’s effect on the survival and quality of the wetlands … such as flood and storm hazards.”

Exh. 172, Executive Order No.11990 at p. 2, Section 5. Although the Corps drafted a FEIS in




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1976, the activities associated with the O&M of the MR-GO that were ongoing necessitated

Supplemental statements, the Corps’ activities initiated after the 1976 FEIS, failed to comply

with Executive Order 11990.

       277. Between the years 1980 and 2004, the Corps performed a total of 26 Environmental

Assessments (“EA’s”) of the MR-GO relating to Operation and Maintenance. Each of these

EA’s were limited to analysis of discrete segments of designated miles along the 76 mile

channel, and are often further subdivided into two and three sub-EAs prepared separately,

addressing even smaller designated areas for the proposed action. See, e.g., Exh. 197, EA 162

(miles 23-2); miles 49.9-56.1; miles 0 to (-) 2.5); Exh. 188, Appendix L of the Mississippi River-

Gulf Outlet Deep Draft De-authorization Study Integrated Final Report to Congress (“Appendix

L, MR-GO De-Authorization Study”).

       278. Without exception, each of the 26 EA’s prepared by the Corps found that the O&M

activities had no significant impact on the environment (“FONSI”) and thus, omitted any

discussion of the relationship between the dredging and the continuing loss of wetlands, failure

to engage in bank stabilization, or discuss the cumulative environmental impacts of the O&M, or

mitigation measures, or alternatives to the O&M, such as closure. Exh. 188, Appendix L, MR-

GO De-Authorization Study.

       279. In 1984, the Corps was aware of the potential impacts of the MRGO on the

environment and participated in a study entitled “The Mississippi River Gulf Outlet: A Study of

Bank Stabilization” and published by Coastal Environments, Inc. Exh. 203, The Mississippi

River Gulf Outlet: A Study of Bank Stabilization, Coastal Environments, Inc (Dec. 1984).

       280. On July 11, 1985 the Corps published a “Supplemental Information Report” (“1985

SIR”) “to evaluate the ongoing removal of allowable over depth and advanced maintenance




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during routine maintenance dredging” which was “inadvertently omitted” from the 1976 FEIS

nine years earlier. Exh. 194, 1985 SIR at NOP-002-000002283.

       281. The 1985 SIR does not evaluate the effects of over depth dredging on subsidence or

contributing to the increase of surface width (which had gone from 600 feet to 1500 feet), on

wetlands loss, or its subsequent effect on storm hazard. Nor does the SIR evaluate the effects of

over depth dredging on the health and safety of the human environment. Nonetheless, the Corps

concludes that the over depth dredging would have no significant impact on the human

environment. Exh. 194, 1985 SIR at NOP-002-000002287.

       282. The SIR’s findings that the “Environments Impacts” are conclusory in nature and do

not mention in any manner the bank erosion that in less than three years resulted in specific

findings of eminent danger. The Corps concludes that the over depth dredging would have no

significant impact on the human environment. Exh. 194, 1985 SIR at NOP-002-000002287.

       283. “In light of extensive erosion which [had] been occurring in St. Bernard Parish along

the unleveed banks of the Gulf Outlet Channel,” in 1987, the Corps considered the need to

evaluate bank stabilization measures along the MR-GO to address its impact on hurricane

protection. Nonetheless, the Corps did not supplement its EIS to address the impacts on the

human environment caused by the O&M of the MRGO. Exh. 9, 1988 Recon Report at p. 2; Exh.

204, Memorandum re MR-GO, Bank Erosion Reconnaissance Study Interdisciplinary Planning

Team (IPT) Meeting to Select Alternative Bank Erosion Control Measures for Evaluation in

MR-GO Reconnaissance Report (April 6, 1987) at NED-192-000001167-1169. 1988 Mississippi

River Gulf Outlet, St. Bernard Parish, La., Bank Erosion, Reconnaissance Report.(1988 Bank

Erosion Recon Report);




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      284. The Corps did not supplement its EIS to address the impacts on the human

environment caused by the O&M of the MRGO despite acknowledging in 1988 that:

              a.     marshes along the north bank were disappearing at an “alarming
      rate” and “development to the Southwest would be exposed to direct hurricane
      attacks from Lake Borgne” Exh. 9, 1988 Recon Report at p. 10-11. And that, the
      Lower Mississippi Valley Division of the Army Corps recommended that
      complete closure of the MR-GO be evaluated in order to “reduce the possibility of
      catastrophic damage to urban areas by a hurricane surge coming up this waterway
      [the MR-GO]. . . .” Exh. 9, 1988 Recon Report at Comment 2.

              b.      based on recent trends, the area would continue to experience
      drastic losses due to erosion and that the MRGO east bank along Lake Borgne
      was dangerously close to being breached.” Exh. 9, 1988 Recon Report at p. 23;

              c.      as the marsh area diminished significant losses to marsh dependant
      fish and wildlife species will also occur. Increases in water levels resulting from
      the general rise in sea level and subsidence of the land would enlarge land/water
      interface and accelerate saltwater intrusion. Exh. 9, 1988 Recon Report at p. 23.

              d.      the banks of the MR-GO’s unleveed reaches were retreating at
      rates varying from five to over forty feet per year. The average rate of retreat of
      the north bank in the 41-mile land cut portion of the waterway was about 15 feet
      per year. Exh. 9, 1988 Recon Report at p. 30.

              e.     salt water intrusion from the MR-GO’s O&M was causing
      lessened hurricane protection associated with loss of marsh along the north bank
      from Lake Borgne. Exh. 9, 1988 Recon Report at p. 10, LMVD Comment No. 2,
      pp. 16, 24-27, Appendix E at pp. 3-8; Exh. 183, Thomas Podany 30(b)(6) Depo.
      (Oct. 9, 2008) at 113:10-116:1, 126:13-129:17.

             f.      alternatives to operation of the MRGO that might mitigate the
      erosion of the banks of the MRGO, including reduction of, and alternatives to
      maintenance dredging. Exh. 9, 1988 Recon Report at pp. 34-50; Exh. 183,
      Thomas Podany 30(b)(6) Depo. (Oct. 9, 2008) at 33:9-34:24, 146:3-147:22.

              g.      the reduction in protective wetlands (both in the Golden Triangle
      and Central Wetlands Unit and immediately in front of the LPV structures) and
      increase in channel width would likely have a demonstrable effect on flooding
      levels in the vicinity of the MR-GO during hurricanes. Exh. 9, 1988 Recon
      Report at Comment 2; Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶ 19-27.

      285. The Corps did not supplement its EIS relating to the impacts on the human

environment caused by the O&M of the MRGO despite proceeding “directly with a preparation




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of a supplement to the General Design Memorandum for the MRGO navigation project” for

continued O&M, notwithstanding the observation that “subsidence is at its greatest in areas that

are most often dredged.” Exh. 9, 1988 Recon Report at Letter attached thereto dated March 10,

1988 from Col. Lloyd Brown of the Corps to the Commander of the LMVD.

       286. The Corps did not supplement its EIS relating to the impacts on the human

environment caused by the O&M of the MRGO despite acknowledging that “between 1956 and

1978, the bird’s foot delta experienced a net loss of approximately 67,000 acres of marsh -a loss

of more than 100 square miles.” Or that it was causing an average loss of 211 acres of marsh per

year during the 20-year period between 1968 and 1987 and a total of 4,200 acres of highly

productive marsh adjacent to the MR-GO channel it did not Supplement its EIS relating to the

impacts on the human environment caused by the MR-GO’s O&M. Exh. 9, 1988 Recon Report

at p. 2, Comment 2; Exh. 145, Army Corps, Habitat Impact of the Construction of the MR-GO

(December 1999) at NED-188-000001556 et seq.; Exh. 196, Army Corps and Louisiana

Department of Natural Resources, “Land Loss and Marsh Creation, St. Bernard, Plaquemines

and Jefferson Parishes—Feasibility Study” (April 1990) at pp. 18-19.

       287. In response to the Bank Erosion studies, the Corps considered implementing shore

protection along the MR-GO. On or about October 6, 1993 the Corps determined that such

efforts would require the Corps to alert Congress of the environmental concerns inherent in the

MR-GO through a full EIS. The Corps acknowledged internally that a full EIS to Congress

would necessitate public comment that would both challenge the limited scale of the Corps

proposed bank protection efforts in light of the public desire for more extensive remedy, and

would likely raise for Congressional consideration the closing of the MR-GO. Exh. 189,

Memorandum for file, Mississippi River-Gulf Outlet, St. Bernard Parish, LA (Bank Erosion)




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Revised Reconnaissance Study and Feasibility Study, Oct. 6, 1993) at pp. NPM-036-000001505-

1506.

        288. The Corps did not Supplement its EIS relating to the impacts on the human

environment caused by the O&M of the MRGO and did not propose the discussed shore

protection measures despite again acknowledging in 1999, that erosion of the unarmored banks

of Reach 2 of the MR-GO had widened the channel beyond its authorized 650’ top width, caused

large breaches in the rapidly dwindling marsh buffer between the navigation channel and the

open waters of Lake Borgne and Breton Sound, exposing neighboring people and property to

direct hurricane attacks from Lake Borgne. Exh. 9, 1988 Recon Report at Comment 2); Exh.

145, Army Corps, Habitat Impact of the Construction of the MR-GO (December 1999) at NED-

188-000001556 et seq.

        289. Four months before Hurricane Katrina, a Corps environmental compliance official,

Richard Boe, after reviewing the agency’s MR-GO environmental disclosure history, concluded

that the agency had been deficient in its reporting and short-sighted in its analysis of the

significant adverse and cumulative impacts of the MR-GO. Exh. 208, (“Draft Mississippi River-

Gulf Outlet PM-R Proposal for Gaining National Environmental Policy Act Compliance for the

Operation and Maintenance Program” (April 11, 2005) (“Army Corps 2005 Memorandum”);

Exh. 195, John Saia 30(b)(6) Depo. (Oct. 1, 2008) at 177:14-186:14.

        290. The April 11, 2005 Corps Memorandum Corps environmental compliance official

Boe acknowledged that the Corps had segmented its environmental review, issuing periodic

Findings of No Significant Impact (“FONSI”), and not preparing a comprehensive evaluation of

the significant and cumulative environmental impacts on the environment from O&M dredging




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and bank erosion that had occurred since its 1976 Environmental Impact Statement (“EIS”).

Exh. 208, Army Corps 2005 Memorandum at pp. 1-2:

             [T]he dredged material disposal sites and methods that have been used
             along the inland reach since the mid-1980s bear little resemblance to those
             described in the environmental impact statement (EIS) prepared in 1976
             for the O&M of the MR-GO. All of the changes that have occurred in the
             dredging and disposal plan since preparation of the original EIS have been
             addressed in environmental assessments (EAs) and associated findings of
             no significant impact (FONSIs). . . . The cumulative impact of all the
             changes that have already occurred since preparation of the 1976 EIS
             alone constitutes a significant impact on the environment, compared to the
             O&M plan described in the EIS, although there has been no supplemental
             EIS (SEIS) prepared. In summary, both the existing O&M of the channel
             and the proposed changes to the O&M of the channel require preparation
             of an SEIS.

Ibid.

        291. The April 11, 2005 Corps Memorandum concedes that the Corps had not

implemented preferred bank stabilization measures for channel stabilization of the MRGO. Exh.

208, Army Corps 2005 Memorandum at p. 2.

        292. The Corps concedes that pursuant to NEPA, it was required to report that the banks

of the MRGO were eroding in an EIS. Exh. 181, Gregory Miller 30(b)(6) (Oct. 14, 2008) at

280:12-24.

        293. The Corps concedes that it never evaluated the impact that erosion of the banks of

the MRGO had on the health and safety of the human environment. Exh. 181, Gregory Miller

30(b)(6) (Oct. 14, 2008) at 282:17-24.

        294. The Corps concedes significant environment impacts result (a) from erosion, wave

wash, and drawdown effects produced by large vessel traffic causing highly productive marsh to

be converted to open water and (b) from saltwater intrusion in the marsh modifying the character

of much of the marsh area. Exh. 181, Gregory Miller 30(b)(6) (Oct. 14, 2008) at 317:17-318:13.




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       295. The Corps acknowledges that the MRGO human environment included areas that

were impacted by land changes due to the MRGO project and that the Corps did not analyze the

cumulative effect of environmental changes brought about by the MR-GO. Exh. 184, John Saia

30(b)(6) Depo. (Sept. 30, 2008) at 17:19-23 (30(b)(6) and 126:13-18, 144:1-145:7.

       296. The Corps acknowledged by the time of its 1988 bank erosion reconnaissance study

the erosion had an impact on the human environment which would be regulated by NEPA, but it

never incorporated this information into its environmental disclosures—either in the EAs or a

Supplemental Environmental Impact Statement. Exh. 183, Thomas Podany 30(b)(6) Depo. (Oct.

9, 2008) at 157:9-159:25.

       ARMY CORPS’ AWARENESS OF FEASIBLE MITIGATION MEASURES

       297. The MR-GO’s deficiencies were never “ineradicable” because technically feasible

mitigation measures for bank and wetlands protection and surge and saltwater barriers—which

would not have impeded use of the navigation channel by deep-draft vessels—were always

available to the Corps. See, e.g., Exh. 154, Appendix C, Report on Evaluation of Alternate Plans

Involving Modifications in the Alignment of the Lake Pontchartrain Barrier at p. 2; Exh. 151,

Memo concerning MR-GO Floodgates at IHNC from Jerome C. Baehr, at p. 1, AFW-467-

000001698-1699; Exh. 146, Letter from U.S. Department of the Interior to District Engineer,

NOD, October 22, 1962; Exh. 141, Letter from Colonel E.R. Heiberg III to Mr. G.J. Lannes, Jr.

at p. 1 (NED-125-000000995-997); Exh. 71, Bea Expert Report (July 2008) at p. 19, ¶20;

Defendant’s DFE Motion for Summary Judgment (Doc. No. 16552-4) at p. 36, n. 8 (bank

protection works were technically feasible).




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